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 2   TIMOTHY ZINDEL, Bar #158377
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5
 6   Attorney for Defendant
     CRYSTAL RUSSO
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 8
 9                      IN THE UNITED STATES DISTRICT COURT
10                    FOR THE EASTERN DISTRICT OF CALIFORNIA
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12
13   UNITED STATES OF AMERICA,       )     Case No. 2:11-cr-00198-MCE
                                     )
14                  Plaintiff,       )
                                     )     STIPULATION AND ORDER
15        v.                         )     CONTINUING STATUS CONFERENCE
                                     )     AND EXCLUDING TIME
16   CRYSTAL RUSSO et al.,           )
                                     )
17                  Defendants.      )     Date: February 7, 2013
                                     )     Time: 9:00 a.m.
18   _______________________________ )     Judge: Hon. Morrison C. England
19
20        IT IS HEREBY STIPULATED AND AGREED between defendant, Crystal Russo,
21   through her attorney, Timothy Zindel, and plaintiff, United States of
22   America, through its attorney, Daniel S. McConkie, that the status
23   conference as to defendant Russo, scheduled for February 7, 2013, may be
24   continued to March 14, 2013, at 9:00 a.m.
25        Ms. Russo and counsel have reviewed additional audio recordings the
26   government provided in discovery since the last status conference.         The
27   defense has additional follow-up investigation but counsel intend to meet
28   and confer later this week about resolving the case.         In order to
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 1   complete these tasks, the parties agree that the ends of justice served
 2   by this continuance outweigh the best interests of the public and the
 3   defendant in a speedy trial and that time under the Speedy Trial Act
 4   should be excluded through         March 14, 2013, pursuant       to 18 U.S.C. §
 5   3161(h)(1)(g) and (h)(7)(a) and (b)(IV).
 6
 7                                             Respectfully submitted,
 8                                             JOSEPH SCHLESINGER
                                               Acting Federal Defender
 9
10   Dated:    February 5, 2013                /s/ T. Zindel
                                               TIMOTHY ZINDEL
11                                             Assistant Federal Defender
                                               Attorney for CRYSTAL RUSSO
12
13                                             BENJAMIN B. WAGNER
                                               United States Attorney
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15   Dated:    February 5, 2013                /s/ T. Zindel for D. McConkie
                                               DANIEL S. McCONKIE
16                                             Assistant U.S. Attorney
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     Stip & Order                             -2-
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 1                                         ORDER
 2         The status conference is continued to March 14, 2013, at 9:00 a.m.
 3   The Court finds that the ends of justice to be served by a continuance
 4   outweigh the best interests of the public and the defendant in a speedy
 5   trial, for the reasons stated above.
 6         IT IS SO ORDERED.
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 8   Dated: February 13, 2013
 9                                         _______________________________________
10                                         MORRISON C. ENGLAND, JR.
                                           UNITED STATES DISTRICT JUDGE
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     Stip & Order                           -3-
